
It is ordered and adjudged that the demurrers to the petitions he overruled upon the reasoning and authority of the case of City of Youngstown v. First National Bank of Youngstown, 106 Ohio St., 563.
*708It is therefore ordered and adjudged that the writs of mandamus prayed for be, and the same hereby are, allowed, and the defendants, George L. "Wright, William B. Bailey, Carl 0. Poling, Jesse M. Sanner and Forest E. Wolf, as members of the board of education of Hocking county, Ohio, are ordered to approve and allow vouchers for the salary of George W. Christman as county superintendent of the Hocking county school district, according to the terms of his contract with the defendant board, and the defendant George L. Wright, as president of such board, is ordered to sign such vouchers; it is further ordered that said members of said board of education of Hocking county, Ohio, make an appropriation covering the salary of Elmore L. Perry as assistant county superintendent for the fiscal year of 1926, and to approve and allow vouchers for the salary of said Elmore L. Perry as such assistant county superintendent, and the defendant George L. Wright as president of such board is ordered to sign vouchers for the salary of said Elmore L. Perry, as provided in the contract of the Hocking County Board of Education with said Elmore L. Perry.

Writs allowed.

Jones, Matthias, Day, Allen, Kinkade and Robinson, JJ., concur.
